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                               UNITED STATES DISTRICT COURT
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                                       DISTRICT OF NEVADA
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 7   XIAOYE BAI,
                                                          Case No.: 2:19-cv-00739-GMN-NJK
 8          Plaintiff(s),
                                                                        ORDER
 9   v.
                                                                     [Docket No. 16]
10   REUBART, et al.,
11          Defendant(s).
12         Pending before the Court is Plaintiff’s motion to order the U.S. Marshals to serve
13 summonses on Defendants. Docket No. 16.
14         The Court previously issued an order directing the Office of the Attorney General of the
15 State of Nevada (“Attorney General”) to file under seal, no later than November 3, 2020, the last-
16 known address for any of the defendants for whom the Attorney General cannot accept service.
17 Docket No. 15 at 2. The Court explained that, “[i]f service cannot be accepted for any of the
18 named defendant(s), Plaintiff shall file a motion identifying the unserved defendant(s), requesting
19 issuance of a summons, and specifying a full name and address for the defendant(s).” Id. The
20 Attorney General’s deadline to comply with the Court’s order has not expired.
21         Accordingly, Plaintiff’s motion to order the U.S. Marshals to serve summonses on
22 Defendants is DENIED as premature. Docket No. 16.
23         IT IS SO ORDERED.
24         Dated: October 21, 2020
25                                                              ______________________________
                                                                Nancy J. Koppe
26                                                              United States Magistrate Judge
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